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     Facebook, Inc.
13
                                  UNITED STATES DISTRICT COURT
14
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                          OAKLAND DIVISION
16
      WHATSAPP INC., a Delaware corporation,
                                        )
17    and FACEBOOK, INC., a Delaware    )           Case No. 4:19-cv-07123-PJH
      corporation,                      )
18                                      )           STIPULATION AND [PROPOSED]
                      Plaintiffs,       )           ORDER EXTENDING BRIEFING
19                                      )           SCHEDULE ON DEFENDANTS’
             v.                         )           MOTION TO STAY
20                                      )
      NSO GROUP TECHNOLOGIES LIMITED )              Ctrm: 3
21    and Q CYBER TECHNOLOGIES LIMITED, )           Before the Honorable Phyllis J. Hamilton
                                        )
22                    Defendants.       )           Action Filed: October 29, 2019
                                        )
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         Case 4:19-cv-07123-PJH Document 126 Filed 08/20/20 Page 2 of 4




 1           WHEREAS, on August 5, 2020, Plaintiffs filed a motion to compel discovery and

 2   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (together,

 3   “NSO”) filed a motion to stay pending appeal;

 4           WHEREAS, on August 7, 2020, NSO filed a motion to extend time to oppose Plaintiffs’

 5   motion to compel, wherein NSO stated that it “would not object to an equivalent extension of

 6   Plaintiffs’ deadline to oppose [the] motion to stay pending appeal,” Defs’ Mot. to Extend Time at 1

 7   n.2, Dkt. No. 119;

 8           WHEREAS, on August 17, 2020, the Court granted NSO’s motion to extend time and

 9   extended NSO’s time to oppose Plaintiffs’ motion to compel until September 2, and extended

10   Plaintiffs’ time to file a reply in support of that motion until September 9, Order, Dkt. No. 122;

11           WHEREAS, NSO’s motion to stay and Plaintiffs’ motion to compel address overlapping

12   issues, including whether NSO’s interlocutory appeal should affect whether discovery proceeds in

13   this Court, see Pls’ Mot. to Compel at 5-15, Dkt. No. 116; Defs’ Mot. to Stay at 1-5, Dkt. No. 117;

14           WHEREAS, the Parties have conferred and have no objection to extending Plaintiffs’ time

15   to oppose NSO’s motion to stay;

16           NOW, THEREFORE, the Parties hereby stipulate and propose, subject to the approval of

17   the Court, that in the interests of judicial efficiency, the deadlines for Plaintiffs’ opposition to

18   NSO’s motion to stay and NSO’s reply in support of that motion shall be extended to correspond

19   with those set for Plaintiffs’ motion to compel in this Court’s August 17, 2020 Order, i.e., the

20   opposition will be due on September 2, and the reply will be due on September 9.

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     STIPULATION AND [PROPOSED] ORDER EXTENDING BRIEFING SCHEDULE ON DEFENDANTS’ MOTION TO STAY
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 126 Filed 08/20/20 Page 3 of 4




 1    Dated: August 18, 2020                      DAVIS POLK & WARDWELL LLP

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 3
                                                  By: /s/ Antonio J. Perez-Marques
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16                                                     Attorneys for Plaintiffs WhatsApp Inc. and
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                                                       Technologies Limited And Q Cyber
27                                                     Technologies Limited

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     STIPULATION AND [PROPOSED] ORDER EXTENDING BRIEFING SCHEDULE ON DEFENDANTS’ MOTION TO STAY
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 126 Filed 08/20/20 Page 4 of 4




 1                                        FILER’S ATTESTATION

 2            Pursuant to Civil L. R. 5-1(i)(3), regarding signatures, Antonio J. Perez-Marques hereby

 3   attests that concurrence in the filing of the document has been obtained from all of the signatories

 4   above.

 5    Dated: August 18, 2020                             /s/ Antonio J. Perez-Marques
 6                                                       Antonio J. Perez-Marques

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10                                          PROPOSED ORDER

     PURSUANT TO THE STIPULATION, IT IS SO ORDERED.                                S DISTRICT
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14    Dated: August 20, 2020                                          NO        Judge P
                                                                                          hyllis J.




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                                                         HONORABLE PHYLLIS J. HAMILTON




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15                                                       U.S. DISTRICT JUDGE
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     STIPULATION AND [PROPOSED] ORDER EXTENDING BRIEFING SCHEDULE ON DEFENDANTS’ MOTION TO STAY
     CASE NO. 4:19-CV-07123-PJH
